      Case 8:20-cv-01640-DOC-DFM Document 74 Filed 11/08/21 Page 1 of 1 Page ID #:961
 AO 450 (Rev. 11/11) Judgment in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                   for the
                                                                  Central District
Kenneth Jenkins, in his representative capacity as trustee of__________
                                                              the         Districtof
                                                                                   ofCalifornia
                                                                                     __________
Survivor's Trust under the Hinsvark Family Trust dated
November 7, 1994, and as trustee of the Marital Trust under
the Hinsvark Family Trust dated November 7, 1994                                       )
                               Plaintiff                                               )
                                  v.                                                   )           Civil Action No. 8:20-cv-01640-DOC-DFMx
                           Alan O'Kain                                                 )
                             Defendant                                                 )

                                                 JUDGMENT IN A CIVIL ACTION

 The court has ordered that (check one):
                                  Kenneth Jenkins, in his representative capacity as trustee of the Survivor's Trust under the Hinsvark
 ✔
 ’ the plaintiff (name)
                                  Family Trust dated November 7, 1994, and as trustee of the Marital Trust under the Hinsvark Family Trust dated
                                  November 7, 1994                                                                                                 recover from the
 defendant (name)                                  Alan O'Kain                                       the amount of
  one hundred thousand nine hundred twenty-three and 0.67         dollars ($ 100,923.67 ), which includes prejudgment
 interest at the rate of 0.00   %, plus post judgment interest at the rate of 0.09 % per annum, along with costs.

 ’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                  recover costs from the plaintiff (name)
                                           .

 ’ other:

                                                                                                                                                                      .

 This action was (check one):

 ’ tried by a jury with Judge                                                                                                        presiding, and the jury has
 rendered a verdict.

 ’ tried by Judge                                                                                                   without a jury and the above decision
 was reached.

 ✔
 ’ decided by Judge           David O. Carter                                                                                on a motion for
     attorneys' fees and costs.
                                                                                                                                                                      .

 Date:        November 8, 2021                                                                  CLERK OF COURT


                                                                                                                                           Karlen Dubon
                                                                                                                     Signature of Clerk or Deputy Clerk
